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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                                           Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC, et                                            Case No. 17-12560 (JKS)
al.,1
                                                                                  (Jointly Administered)
                      Remaining Debtors.
MICHAEL GOLDBERG, as Liquidating Trustee of the
Woodbridge Liquidation Trust, successor in interest to
the estates of Woodbridge Group of Companies, LLC, et
al.,
                                        Plaintiff,
v.
Gwendolyn Bissette,                                                            Adv. Case 19-50815 (JKS)
Karen I. Clara,                                                                Adv. Case 19-50824 (JKS)
Christopher Longworth,                                                         Adv. Case 19-50928 (JKS)
Donald Abney and Lee Ann Abney,                                                Adv. Case 19-50881 (JKS)
Gary L. Burke,                                                                 Adv. Case 19-50954 (JKS)
Morgan J. Commodore,                                                           Adv. Case 19-50957 (JKS)
Patrick Gatbonton,                                                             Adv. Case 19-50959 (JKS)
Integrity Plus Consulting and Sean Renninger,                                  Adv. Case 19-50960 (JKS)
David Johnston,                                                                Adv. Case 19-50943 (JKS)
Judith L. Werner, in her capacity as Trustee of the                            Adv. Case 19-50871 (JKS)
Werner Family Living Trust dated 03/02/2000,
Michael P. Werner, in his capacity as Trustee of the
Werner Family Living Trust dated 03/02/2000, Judith
L. Werner and Michael P. Werner,
Provident Trust Group, LLC, solely in its capacity as                          Adv. Case 19-50968 (JKS)
administrator and custodian for the benefit of Geneva
W. Guilbeaux IRA; Diana Engelhardt, solely in her
capacity as Executrix to the Estate of Charles D.
Guilbeaux, and Diana Engelhardt, solely in her
capacity as Executrix to the Estate of Geneva W.
Guilbeaux,                                                                     Adv. Case 19-50963 (JKS)
Peter Derienzo,                                                                Adv. Case 19-50972 (JKS)
Jacob A. Weiss,                                                                Adv. Case 19-50971 (JKS)
Thomas Masztak,                                                                Adv. Case 19-50962 (JKS)
Jeffrey DeAngelis
                                      Defendants.

1        The Remaining Debtors and the last four digits of their respective federal tax identification number are as follows:
         Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
         Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman California 91423.
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                                 AFFIDAVIT OF SERVICE


STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )

SHARNA WILSON, being duly sworn, deposes and says:

1. I am employed as a Case Manager by Epiq Class Action and Claims Solutions, Inc., located
   at 777 Third Avenue, New York, New York 10017. I am over the age of eighteen years and
   am not a party to the above-captioned action.

2. On November 30, 2021, I caused to be served the “Notice of Agenda of Matters Scheduled
   for Hearing on December 2, 2021 at 10:30 A.M. (Prevailing Eastern Time) before the
   Honorable J. Kate Stickles,” dated November 30, 2021 [Docket No. 4709], by causing a true
   and correct copy to be:

       a. enclosed securely in a postage pre-paid envelope and delivered via overnight mail to
          the party listed on the annexed Exhibit A,

       b. enclosed securely in separate postage pre-paid envelopes and delivered via first class
          mail to those parties listed on the annexed Exhibit B,

       c. delivered via facsimile to the party listed on the annexed Exhibit C, and

       d. delivered via electronic mail to those parties listed on the annexed Exhibit D.

3. The envelopes utilized in the service of the foregoing contained the following legend:
   LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”


                                                                   /s/ Sharna Wilson
                                                                   Sharna Wilson

  Sworn to before me this
  3rd day of December, 2021
  /s/ Panagiota Manatakis
  Notary Public, State of New York
  No. 01MA6221096
  Qualified in Queens County
  Commission Expires April 26, 2022
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                    EXHIBIT A
                                                                        Case 17-12560-JKS     Doc 4710      Filed 12/06/21   Page 4 of 11

Name                         Address1                 Address2                     Address3              Address4               City         State   Zip

MCCABE, WEISBERG & CONWAY,   ATTN MICHAEL K PAK ESQ   1407 FOULK ROAD, SUITE 204                                                WILMINGTON   DE      19803
LLC




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                    EXHIBIT B
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Name                              Address1                       Address2                       Address3                    Address4               City               State   Zip

CHARLES D GUILBEAUX               C/O DIANA ENGELHARDT, EXEC OF ESTATE OF CHARLES D GUILBEAUX   1701 GEORGE ST                                     ROSENBERG          TX      77471
                                  THE
DAVID JOHNSTON                    2929 KENNY RD                                                                                                    COLUMBUS           OH      43221-2415
DONALD & LEE ANN ABNEY            PO BOX 6443                                                                                                      NALCREST           FL      33856
DONALD ABNEY & LEE ANN ABNEY      64107 NALCREST RD                                                                                                NALCREST           FL      33856-1063
DONALD ABNEY AND LEE-ANN          3428 NALCREST DR                                                                                                 NALCREST           FL      33856
ABNEY
GARY L BURKE                      7303 CALICO CIR                                                                                                  CORONA             CA      92881
GENEVA W GUILBEAUX                C/O DIANA ENGELHARDT           ESTATE OF GENEVA W GUILBEAUX   1701 GEORGE ST                                     ROSENBERG          TX      77471
GWENDOLYN BISSETTE                325 MUELLER DR                                                                                                   CLAYTON            NC      27520
INTEGRITY PLUS CONSULTING, INC.   ATTN: SEAN RENNINGER, R/A      4570 VAN NUYS BLVD, STE. 371                                                      SHERMAN OAKS       CA      91403
JACOB A. WEISS                    4600 NAGLE AVE                                                                                                   SHERMAN OAKS       CA      91423-3228
JACOB A. WEISS                    4555 SYLMAR AVE #224                                                                                             SHERMAN OAKS       CA      91423
JEFFREY DEANGELIS                 215 N CORDOVA STREET, APT. C                                                                                     BURBANK            CA      91505
KAREN I CLARA                     38221 FERNHILL CT                                                                                                CLINTON TOWNSHIP   MI      48038
MICHAEL & JUDITH WERNER           81 ELKINS LAKE                                                                                                   HUNTSVILLE         TX      77340
MORGAN COMMODORE                  1868 W 38TH PL                                                                                                   LOS ANGELES        CA      90062
PROV TR GRP FBO GENEVA W          8880 W SUNSET ROAD             SUITE 250                                                                         LAS VEGAS          NV      89148
GUILBEAUX IRA
SEAN RENNINGER                    19831 MARIPOSA PINES WAY                                                                                         NORTHRIDGE         CA      91326
THOMAS MASZTAK                    639 BROOKS AVE                                                                                                   VENICE             CA      90291-3009




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                    EXHIBIT C
                                                                        Case 17-12560-JKS     Doc 4710      Filed 12/06/21   Page 8 of 11

Name                         Address1                 Address2                     Address3              Address4               City         State   Zip     Fax

MCCABE, WEISBERG & CONWAY,   ATTN MICHAEL K PAK ESQ   1407 FOULK ROAD, SUITE 204                                                WILMINGTON   DE      19803   8554251980
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                    EXHIBIT D
                                                                                       Case 17-12560-JKS                  Doc 4710        Filed 12/06/21   Page 10 of 11

Name                               Address1                        Address2                            Address3                         Address4               City               State   Zip          Email

AKERMAN LLP                        ATTN: MICHAEL I GOLDBERG, ESQ   201 E LAS OLAS BLVD STE 1800                                                                FORT LAUDERDALE    FL      33301-4442   Michael.goldberg@akerman.com
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COLE, LLP                          DESGROSSEILLIERS                                                                                                                                                    desgross@chipmanbrown.com
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OFFICE OF THE UNITED STATES        REGION 3                        ATTN TIMOTHY J. FOX, JR             844 KING STREET, SUITE 2207      LOCKBOX 35             WILMINGTON         DE      19801        Timothy.Fox@usdoj.gov
TRUSTEE
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LLP
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RYAN LAW GROUP PLLC                ATTN MICHAEL J RYAN, ESQ        636 US HIGHWAY 1 STE 110                                                                    NORTH PALM BEACH   FL      33408        mikeryan32645@yahoo.com
SQUIRE PATTON BOGGS (US) LLP       ATTN CHRISTOPHER J. GIAIMO      2550 M STREET, NW                                                                           WASHINGTON         DC      20037        christopher.giaimo@squirepb.com
U.S. DEPARTMENT OF JUSTICE CIVIL   P.O. BOX 875                    ATTN: J. ZACHARY BALASKO            BEN FRANKLIN STATION                                    WASHINGTON         DC      20044-0875   john.z.balasko@usdoj.gov
DIVISION
YOUNG & BROOKS, P.A.               ATTN STUART A. YOUNG, ESQ.      1860 FOREST HILL BLVD., SUITE 201                                                           WEST PALM BEACH    FL      33406        syoung@ybplaw.com




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Name               Address1              Address2                     Address3               Address4               City        State   Zip     Email

BENNER-ROTHBOECK   ATTN: THOMAS BENNER   1008 5TH ST. #1706                                                         ANACORTES   WA      98221   TOM@BEROLAW.COM




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